                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA

DONNA LOU, III                                    *            CIVIL ACTION

VERSUS                                            *            NO. 21-80

SHERIFF JOSEPH P. LOPINTIO, III ET AL *                        SECTION “D-2"


                           NOTICE OF SUBMISSION

      Please take notice that the foregoing Motion will be submitted for hearing

before the United States District Court for the Eastern District of Louisiana, the

Honorable Judge Wendy B. Vitter presiding, 500 Poydras Street, Room C-352,

New Orleans, Louisiana, on the 2nd day of May 2023, at 9:30 a.m. or as soon

thereafter as it may be heard.

                                     Respectfully submitted,

                                     /s/ James B. Mullaly
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